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                   PLAINTIFF’S REPLY BRIEF IN SUPPORT OF ITS
                       MOTION PRELIMINARY INJUNCTION

                                      EXHIBIT INDEX

 Attachment
                                               Description
     No.
      1     Declaration of Gabriel Gillett in Support of Plaintiff’s Response Brief in Support
            of Plaintiff’s Motion for Preliminary Injunction
      2     Gillett Exhibit 21: March 18, 2020 email from Drew Greco at ATIS to Jesse
            Raasch, among others, regarding Baicells Migration Plan Update (BAICELLS-
            000062663)
      3     Gillett Exhibit 22: December 10, 2019 email from Giancarlo D’Amico to Andy
            Yang re Alliance Cat6 / SIMS / 436Q
      4     Response Declaration of Randy Mead, CEO and General Manager of LigTel
            Communications, Inc.
      5     Response Declaration of Joshua Wentworth, Network Operations Supervisor for
            LigTel Communications, Inc.




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